        Case 3:19-cr-00650-RS Document 13 Filed 01/29/20 Page 1 of 2




1    STEVEN G. KALAR
     Federal Public Defender
2
     ELLEN V. LEONIDA
3    Assistant Federal Public Defender
     450 Golden Gate Avenue, 19th floor
4
     San Francisco, CA 94102
5    Telephone: (415) 436-7700
     Facsimile: (415) 436-7706
6
     Email: ellen_leonida@fd.org
7

8    Counsel for Defendant,
     ISMAEL MARTINEZ
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10                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       CR 19-650 RS
14                      PLAINTIFF,
                                                     DEFENDANT’S SENTENCING MEMORANDUM
15                  V.

16                                                   HONORABLE RICHARD SEEBORG
     ISMAEL MARTINEZ,                                DATE: FEB. 4, 2020
17                          DEFENDANT.               TIME: 2:30 P.M.
18

19          Ismael Martinez joins the government in requesting a sentence of credit for time served

20   pursuant to his Federal Rule of Criminal Procedure 11(c)(1)(A) and 11(c)(1)(B) plea agreement.

21   Mr. Martinez is 21 years old and homeless. He has no criminal record. On November 13, 2019,

22   he offered to sell a cocaine to an undercover officer in the Tenderloin. He was arrested and found

23   in possession of several small bindles of drugs. Despite his youth, despite the fact that he had no

24   criminal record, and despite the scale of his crime, Mr. Martinez was charged with a felony in

25   federal court. He was not afforded the opportunity to participate in a diversion program or any

26   of the other rehabilitative options that would be available in state court for a young, first-time,

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28   CR 19-650 RS
     Defendant’s Sentencing Memorandum
                                                        1
        Case 3:19-cr-00650-RS Document 13 Filed 01/29/20 Page 2 of 2




1    low-level offender. The 48 days he will have spent in custody on the day he is sentenced
2    constitute his longest (and only) jail sentence. He is almost certainly going to be deported upon
3    his release. A sentence of credit for time served is thus sufficient, but not greater than necessary,
4    to serve the goals of 18 U.S.C. § 3553(a) in this case.
5    Dated: January 29, 2020
6                                                               Respectfully submitted,

7                                                               STEVEN G. KALAR
8                                                               Federal Public Defender

9                                                                  /S/
10                                                              ELLEN V. LEONIDA
                                                                Assistant Federal Public Defender
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28   CR 19-650 RS
     Defendant’s Sentencing Memorandum
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